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17                   IN THE UNITED STATES DISTRICT COURT
18         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
19 PINN, INC.,                               Case No. 8:19-cv-1805-DOC-JDE
20                        Plaintiff,
                                             DEFENDANT APPLE INC.’S
21        v.                                 NOTICE OF MOTION AND
22                                           MOTIONS IN LIMINE NOS. 6-10 TO
     APPLE INC.,                             EXCLUDE IRRELEVANT
23                       Defendant.          MISCELLANEOUS EVIDENCE
24
                                                 Trial Date:   March 16, 2021
25                                               Courtroom:    9D
26                                               Judge:        Hon. David O. Carter
27
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                     DEFENDANT APPLE INC.’S MOTIONS IN LIMINE NOS. 6-10
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 1         TO PLAINTIFF AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE THAT on January 25, 2021 at 8:30 a.m., or as soon
 3   thereafter as the matter may be heard in the United States District Court, Central
 4   District of California, Southern Division, located at 411 West Fourth Street,
 5   Courtroom 9D, Santa Ana, CA 92701, before the Honorable David O. Carter,
 6   Defendant Apple Inc. (“Defendant”) will move, and hereby does present for hearing
 7   by this Court this Motion in Limine Nos. 6-10 to exclude various forms of irrelevant
 8   and prejudicial evidence.
 9         This motion is made pursuant to Fed. R. Civ. P. 26 and/or Federal Rules of
10   Evidence, as well as the Local Rules applicable thereto. This motion is based on this
11   notice of motion, the accompanying memorandum of points and authorities, the
12   omnibus declaration of Seth M. Sproul in support of the motion, any associated
13   exhibits, and such additional papers and arguments as may be presented at or in
14   connection with the hearing.
15         This motion is made following the conference of counsel pursuant to Local
16   Rules 7-3 and 16-2, which took place on December 23, 2020, and continued during
17   the weeks that followed leading up to the filing date of these motions.
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 3   Dated: January 8, 2021          FISH & RICHARDSON P.C.
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3          Defendant Apple Inc. (“Apple”) hereby moves in limine to exclude evidence
 4   under at least Fed. R. Evid. 402, 403, and 602. Apple has narrowly tailored these
 5   requests to target specific evidence that it understands Pinn will introduce and that
 6   has no probative value related to the issues in this case.
 7          Apple objects to the following being introduced or argued at trial: (i) any
 8   argument, evidence, or questions regarding U.S. Patent No. 10,681,446 (“the ’446
 9   Patent”) issued to Kurt Stiehl et al; (ii) any argument or evidence that the claim term
10   “wirelessly pairing” requires that pairing occur wirelessly, in conflict with the Court’s
11   claim construction on this term, (iii) any argument, evidence, or questions that
12   compare patent burdens of proof to other areas of the law; (iv) any argument,
13   evidence, or questions as to the identity, presence, or absence of corporate
14   representatives, or parties’ employees or officers in the courtroom; and (v)
15   unproduced and untimely disclosed documents that were requested during discovery,
16   with the exception of documents being offered for impeachment.
17   II.    LEGAL STANDARD
18          “Irrelevant evidence is not admissible.” Fed. R. Evid. 402. Furthermore, even
19   if deemed relevant, “evidence may be excluded if its probative value is substantially
20   outweighed by the danger of unfair prejudice, confusion of the issues, or misleading
21   the jury[.]” Fed. R. Evid. 403.
22          “Although the trial court has substantial discretion in determining the evidence
23   to be admitted, the ultimate fact must be ‘of consequence to the determination of the
24   action,’ in the words of Federal Rule of Evidence 401.” Magnivision, Inc. v. Bonneau
25   Co., 115 F.3d 956, 961 (Fed. Cir. 1997). “In any trial there is a risk that in
26   McCormick’s phrase, ‘the sideshow will swallow up the circus.’ That is that side
27   issues of only tangential relevance will take up inordinate time and divert the jury
28   from the real issues in the case. The trial court’s weapons to prevent this [include]
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 1         Pinn’s intent, undoubtedly, is to present evidence about this patent, including
 2   Mr. Stiehl’s testimony, and try to mislead the jury into believing that the patent
 3   accurately and faithfully describes the AirPods for purposes of infringement. This
 4   is not the kind of evidence that the jury should hear. Not only would this be an
 5   improper side show that takes up time and diverts the jury from the real issues in the
 6   case, Buckley, 2007 WL 2900173, at *4 & n.13, but it would present a clear and
 7   serious danger of misleading and confusing the jury in a way that could benefit Pinn
 8   and unfairly prejudice Apple. “The trial court’s weapons to prevent this [include] the
 9   Federal Rule of Evidence 403,” as well as Rule 402. Id. Those weapons should be
10   employed here to preclude Pinn from introducing evidence, argument, or questions
11   concerning the ’446 Patent.
12         Instead, Pinn must prove infringement through testimony that describes the
13   Accused Products, not the ’446 Patent. Apple produced technical documentation,
14   including source code, that precisely describes the actual AirPods products. Pinn has
15   proffered the testimony of Apple’s corporate witnesses designated on the operation
16   of the AirPods products, expert opinion on their source code, and expert analysis of
17   the observed operation of the products. This is the evidence Pinn must use to try to
18   show infringement. Allowing Pinn to introduce evidence from the ’446 Patent when
19   it has available to it direct evidence of the design and operation of the Accused
20   Products can only mislead and confuse the jury. Pinn should be precluded from
21   injecting such mischief into the trial.
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 1   construction requires only that a trusted relationship be formed, and that the trusted
 2   relationship allow two devices to communicate wirelessly.
 3         In his rebuttal report, Pinn’s validity expert Dr. Scott Nettles argues for a new
 4   meaning for the term wireless pairing, and a construction that Pinn did not request
 5   during claim construction. Pinn’s new interpretation relates to the mechanism by
 6   which the pairing is established. Namely, Dr. Nettles asserts that wireless pairing
 7   means a pairing must be established wirelessly, precluding the establishment of
 8   wireless pairing via a wired connection:
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     (Sproul Decl., Ex. 4 (Nettles Report) at ¶¶ 253-54; 330.)
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 9         This is a new and narrower meaning for “wireless pairing,” through which Pinn
10   attempts to limit “wireless pairing” to a trusted relationship that is established
11   wirelessly, and not by a wired or physical connection. It may seem incongruous that
12   Pinn would attempt to narrow the claim through Dr. Nettles’ report and his trial
13   testimony, since typically the patent holder wishes to have broad claim scope. But
14   Pinn and Dr. Nettles have a strategy, and that is to graft a new limitation onto the
15   claim in an effort to avoid powerful prior art that Apple will present at trial—the 2007
16   Bluetooth Headset that Apple developed and launched for use with the first iPhone.
17   Apple will be showing this product to the jury, and showing how Apple itself had
18   developed a system, nearly a decade before Pinn, that renders Pinn’s claims invalid.
19         Pinn had an opportunity to request this narrower construction during the
20   extensive claim construction process, and did not do so. The Court’s construction
21   does not address the mechanism by which a trusted relationship is established; it only
22   requires that one be established so that two devices can communicate wirelessly. The
23   word “wireless” describes the nature of the relationship, not the manner in which it is
24   established, which is a new limitation that Pinn attempts to graft onto the claim term.
25   Thus, Pinn’s new argument contravenes the Court’s construction and should be
26   excluded.   Pinn has waived this argument as it failed to raise it during claim
27   construction. See, e.g., Spigen Korea Co. Ltd. v. Ispeaker Ltd, Case No. CV 16-8559-
28   DOC, 2018 WL 6038300, at *19 (C.D. Cal. July 16, 2018) (Carter, J.) (finding on
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 1   summary judgment regarding invalidity, “to the extent these ‘factual disputes’ about
 2   differences between the Stowaway and this portion of Claim 1 . . . are premised on
 3   claim construction, they are waived” where plaintiff attempted a “belated claim
 4   construction argument . . . to put forward a narrow construction” to exclude prior art.);
 5   see also Cent. Admixture Pharmacy Servs., Inc. v. Advanced Cardiac Sols., 482 F.3d
 6   1347, 1356 (Fed. Cir. 2007) (“The district court found that [defendants] waived any
 7   argument with respect to this term by failing to raise it during the claim construction
 8   phase. We agree.”); Fenner Inv., Ltd. v. Microsoft Corp., 632 F. Supp. 2d 627, 638
 9   (E.D. Tex. 2009) (“Because this argument is contrary to the claim construction order
10   and was not raised prior to or even following the claim construction hearing it is
11   waived.”), aff’d sub nom. Fenner Inv., Ltd. v. Microsoft Corp., 369 F. App’x 132 (Fed.
12   Cir. 2010). Pinn must now comport with the Court’s order.
13         Because Pinn’s new and narrower construction of “wireless pairing” conflicts
14   with the Court’s order, and is untimely, irrelevant, and prejudicial to Apple, the Court
15   should preclude Pinn and its experts from asserting this argument at trial.
16         C.     Exclude Comparisons of Burden of Proof Standards to Other Areas
                  of Law (MIL No. 8)
17
18         The parties should be precluded from characterizing the burden of proof or
19   other legal standards with reference to areas of law other than Title 35 of the U.S.
20   Code (including child custody and mental commitment proceedings). Fed. R. Evid.
21   401-403. There is no reason to depart from the properly articulated burdens of proof
22   in this case, which the Court will provide to the jury. For example, Apple has the
23   burden to prove invalidity of the Pinn patents by clear and convincing evidence. Pinn
24   should not be allowed to analogize this invalidity burden to terminating the parent-
25   child relationship, thereby invoking an emotional context entirely separate from what
26   is at issue here, and which has the direct effect of equating the jury finding a patent
27   invalid to the jury taking a child away from a parent. See Stragent, LLC v. Intel Corp.,
28   No. 6:11-cv-421-TBD-JDL, Dkt. No. 274 at 2 (E.D. Tex. Feb. 27, 2014) (excluding

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 1   “[r]eferences to the ‘clear and convincing’ standard in the Texas Family Code”); Cal.
 2   Welfare & Institutions Code § 361(b) (stating that “[n]o dependent child shall be taken
 3   from the physical custody of his or her parents … unless the juvenile court finds clear
 4   and convincing evidence of . . . a substantial danger to the physical health of the minor
 5   …”). It would be highly prejudicial to Apple, confusing and misleading to the jury,
 6   and may improperly influence the jury by inviting a comparison with their legally
 7   unrelated past experiences or preconceptions.
 8         D.     Exclude Argument, Evidence, or Questions as to the Identity,
                  Presence, or Absence of Corporate Representatives, or Parties’
 9
                  Employees or Officers in the Courtroom (MIL No. 9)
10
11         The identity of Apple’s corporate representatives, including Apple’s CEO and

12   other employees, and their courtroom presence or absence do not “ha[ve] any

13   tendency to make a fact more or less probable than it [otherwise] would be,” nor are

14   those “fact[s] of consequence in determining the action.” Fed. R. Evid. 401. And any

15   reference to the absence of any particular Apple employee—such as Apple’s CEO or

16   other executives, engineers, or product developers whose names may appear on

17   exhibits or otherwise be mentioned at trial—is only likely to inflame the jury based

18   on irrelevant considerations.

19         First, Pinn should not be allowed to comment on the absence at trial of current

20   and former Apple executives to whom Pinn’s principal, Sean Kim, sent “cold call”

21   emails prior to filing this lawsuit. Mr. Kim sent emails to the following high ranking

22   current Apple executives: Tim Cook (Apple’s CEO), Adrien Perica (Apple’s VP of

23   Corporate Development, who reports to Tim Cook), Kevin Lynch (VP of

24   Technology), and Omar Alwarid (Senior Director, Operations and Finance). Mr. Kim

25   also reached out to a former high-ranking Apple executive Johny Ive, who at the time

26   was Apple’s Chief Design Officer. Pinn never even attempted to depose any of these

27   individuals—it did not notice any of their depositions. Thus, despite knowing since

28   before the case was filed that Mr. Kim had emailed these current and former

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 1   executives, Pinn chose not to seek testimony from any of them. Notably, these
 2   executives manage a company with over 100,000 full-time employees in countries
 3   across the globe. By contrast, Pinn’s President, Sean Kim, oversees a company that
 4   currently has no other employees. If Pinn were allowed to suggest or argue to the
 5   jury that the absence at trial of current and former Apple executives or other Apple
 6   employees, as compared to Mr. Kim’s presence, somehow bears on the merits of the
 7   case, not only would it be wholly irrelevant to the claims at issue, but it would unfairly
 8   prejudice Apple. Accordingly, Pinn should be precluded from arguing, suggesting,
 9   or questioning their absence from the upcoming trial.
10          Second, this same preclusion should apply to any current or former Apple
11   employee whose name appears in an exhibit introduced at the trial. Again, these
12   would be Apple employees who Pinn was aware of through fact discovery, but who
13   Pinn never attempted to depose.
14          Third, Pinn should not be allowed to comment on the absence of a former
15   Apple employee, Dan Leiva, to whom Mr. Kim also sent a “cold call” email prior to
16   filing the lawsuit, but who was deposed in this case. Mr. Leiva is currently an
17   employee of eBay and has not worked for Apple for several years. He provided
18   deposition testimony pursuant to Pinn’s subpoena, and Pinn has designated some of
19   his deposition testimony to play at the trial. Assuming he does not appear to testify
20   at the trial, Pinn should be precluded from arguing, suggesting, or questioning his
21   absence from the trial.
22         Further, since this trial will be occurring during a global pandemic, any
23   comment or suggestion that the presence or absence of any employees (including
24   commenting on an employee testifying remotely) bears on the merits of this case
25   would introduce unfair prejudice and potentially confuse and mislead the jurors from
26   what they should be focused on in rendering a verdict.
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 1         E.     Exclude Unproduced and Untimely Disclosed Documents Requested
                  During Discovery, Except Documents Being Offered for
 2                Impeachment (MIL No. 10)
 3         With the exception of materials being used for purposes of impeachment, the
 4   parties should not be permitted to rely at trial on unproduced or otherwise untimely
 5   disclosed documents. A document is untimely disclosed if it was not produced during
 6   fact discovery, not used during depositions, or not cited in expert reports. Such
 7   materials should be excluded to ensure that a trial by ambush does not occur.
 8         By contrast, Pinn has indicated that it believes documents are timely disclosed
 9   to the extent they are produced or included on the exhibit list. Thus, Pinn advocates
10   a gaping exception that would swallow the general rule that documents must be
11   produced during discovery. Under Pinn’s view, simply adding a document to the
12   exhibit list solves the problem of any late disclosure, and that document should be
13   available as evidence at trial, even though Apple was precluded from taking discovery
14   on Pinn’s intent or understanding of the significance or purported relevance.
15   However, adding a document to the exhibit list that otherwise has not been disclosed
16   during discovery is insufficient, and for this reason, Apple was unable to agree to
17   Pinn’s motion in limine on a similar topic. Pinn has placed documents on its exhibit
18   list that it produced for the first time when it placed them on the exhibit list (i.e.,
19   documents such as JTX-435-436, 490-494, 536-570), including documents from
20   unrelated litigations as discussed in Apple’s Motion in Limine No. 2. All such
21   material should be excluded from trial.
22   IV.   CONCLUSION
23         Apple respectfully requests that the Court exclude the materials discussed
24   herein.
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                       DEFENDANT APPLE INC.’S MOTIONS IN LIMINE NOS. 6-10
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